                 Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.997 Page 1 of 79



                    1 GUILLERMO MARRERO, ESQ., State Bar No. 099056
                          INTERNATIONAL PRACTICE GROUP, P.C.
                    2 1350 Columbia Street, Suite 500
                          San Diego, California 92101
                    3 Telephone: (619) 515-1486
                          Facsimile: (619) 515-1481
                    4 gmarrero@ipglaw.com

                    5 Attorneys for Defendant
                          SEAWORLD LLC
                    6

                    7

                    8

                    9
                                                     UNITED STATES DISTRICT COURT
                  10

                  11                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA
                  12

                  13 ARTEMISA ELIZONDO, an                                )   Case No.: '20CV0829 BEN BGS
                          individual,                                     )
                  14                                                      )   DECLARATION OF GUILLERMO
                                        Plaintiff,                        )   MARRERO IN SUPPORT OF NOTICE
                  15                                                      )   OF REMOVAL OF CIVIL ACTION
                                v.                                        )   UNDER 28 U.S.C. § 1441 (B) AND
                  16 SEAWORLD PARKS &                                     )   DEMAND FOR JURY TRIAL BY
                          ENTERTAINMENT, INC.,                            )   DEFENDANT SEAWORLD LLC
                  17                                                      )
                                        Defendants.                       )
                  18                                                      )
                                                                          )
                  19

                  20

                  21

                  22

                  23

                  24

                  25

                  26

                  27

                  28


   I NTERNATIONAL                                       Declaration of Guillermo Marrero in Support of
P RACTICE G ROUP , P.C.              Notice of Removal of Civil Action Under 28 U.S.C. § 1441 (b) and Demand for Jury Trial
                  Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.998 Page 2 of 79



                     1 Guillermo Marrero declares:

                     2        1.      I am a California licensed attorney, authorized to practice law in the
                     3 State of California and a shareholder of International Practice Group, P.C., trial

                     4 counsel of record for defendant SeaWorld LLC and SeaWorld Parks &

                     5 Entertainment, Inc. in this matter. If called upon to testify, I have personal

                     6 knowledge of the following matters.

                     7        2.      On November 13, 2018, Plaintiff filed the State Court Lawsuit.
                     8 Attached hereto as Exhibit 1 is a true and correct copy of the complaint.

                     9        3.      Defendant SeaWorld LLC was served with the Summons and
                    10 Complaint as “SeaWorld LLC” on November 14, 2018.

                    11        4.      On December 5, 2018, my former associate, Chelsea Yamabe,
                    12 contacted Plaintiff’s counsel, Raymond Ghermezian and advised him Mr. Melanese

                    13 was an employee of SeaWorld who should not be named as a Defendant. That same

                    14 day, Mr. Ghermezian responded that if Defendant stipulated to keep the case in state

                    15 court, he would ask Plaintiff if she would dismiss Mr. Melanese. Attached hereto as

                    16 Exhibit 2 is a true and correct copy of the email communication between Ms.

                    17 Yamabe and Mr. Ghermezian.

                    18        5.      On December 13, 2018, Defendant SeaWorld LLC answered the
                    19 compliant.

                    20        6.      On January 22, 2019, Defendant Melanese filed a demurrer asserting
                    21 that he was improperly named as a party and that the complaint lacked any specific

                    22 allegations concerning his alleged responsibility. Attached hereto as Exhibit 3 is a

                    23 true and correct copy of the Melanese Demurrer.

                    24        7.      On January 22, 2019, Plaintiff served Form Interrogatories and
                    25 Requests for Production of Documents on SeaWorld LLC. This is the only written

                    26 discovery propounded by Plaintiff. Plaintiff has not conducted any discovery

                    27 written or otherwise as concerns Mr. Melanese.

                    28

                                                                            -1-
   INTERNATIONAL                                       Declaration of Guillermo Marrero in Support of
PRACTICE GROUP , P . C .            Notice of Removal of Civil Action Under 28 U.S.C. § 1441 (b) and Demand for Jury Trial
                  Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.999 Page 3 of 79



                     1             8.      On April 19, 2019, the Court denied Defendants’ Demurrer because of
                     2 the liberal standard that applies to demurrers. The court noted that although the

                     3 complaint failed to assert any facts that Mr. Melanese owned or controlled the

                     4 premises these issues could be flushed out in discovery. Attached hereto as Exhibit

                     5 4 is a true and correct copy of The Court’s minute order. Thereafter the Plaintiff

                     6 made no attempt to flush out the facts concerning Mr. Melanese and initiated no

                     7 discovery.

                     8             9.      On February 14, 2020, Mr. Melanese filed a Motion for Summary
                     9 Judgment to dismiss the complaint because the Plaintiff could not raise a triable

                    10 issue of fact concerning his ownership and control of the premises. In support of the

                    11 motion Mr. Melanese submitted a declaration that asserted he never owned, cleaned,

                    12 repaired, or designed the restaurant at SeaWorld where the incident occurred. In

                    13 addition, Mr. Melanese asserted that he had no involvement with the subject

                    14 incident, the alleged spill on the floor, or the placement of the wet floor caution sign,

                    15 and did not witness the accident, was not present in the restaurant at the time of the

                    16 incident, and was on vacation out of the country on the date of the incident.

                    17 Attached hereto as Exhibit 5 is a true and correct copy of the Motion and Mr.

                    18 Melanese’s Declaration.

                    19             10.     On April 2, 2020, Plaintiff offered to voluntarily dismiss Mr. Melanese
                    20 if the Motion for Summary Judgement be taken off calendar. Attached hereto as

                    21 Exhibit 6 is a true and correct copy of the email communication offering dismissal.

                    22             11.     On April 6, 2020, Defendants filed the Request for Dismissal of Mr.
                    23 Melanese, which was executed by Plaintiff’s counsel, with the San Diego Superior

                    24 Court. 1 Attached hereto as Exhibit 7 is a true and correct copy of the request for

                    25 dismissal.

                    26
                           1
                        The San Diego Superior Court is closed and has suspended the acceptance of papers and e-File documents
                    27 through April 30, 2020 due to the COVID-19 outbreak. Therefore, conformed copies of the Request for
                           Dismissal are currently unavailable.
                    28

                                                                                 -2-
   INTERNATIONAL                                            Declaration of Guillermo Marrero in Support of
PRACTICE GROUP , P . C .                 Notice of Removal of Civil Action Under 28 U.S.C. § 1441 (b) and Demand for Jury Trial
                 Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1000 Page 4 of 79



                     1          12.      In this case Mr. Melanese was named solely to defeat diversity
                     2 jurisdiction and to prevent the removal of the case.

                     3          13.      Plaintiff’s bad faith is demonstrated by the following reasons:
                     4                a. Plaintiff’s Email of December 5, 2018 (See Exhibit 2), where Plaintiff
                     5 was willing to dismiss Mr. Melanese if Defendant SeaWorld LLC stipulated to keep

                     6 the case in state court. Plaintiff’s willingness to dismiss Mr. Melanese so quickly at

                     7 the outset of the case demonstrates she only included Mr. Melanese to defeat

                     8 diversity.

                     9                b. Plaintiff was aware at the outset of the case that there was no basis for a
                    10 claim against Mr. Melanese because, as detailed in Defendants’ Demurrer, there was

                    11 no indication that he contributed to Plaintiff’s injury in any manner.

                    12                c. Plaintiff did not propound any discovery to Mr. Melanese or make any
                    13 attempt to try to prove up the claim prior to agreeing to the dismissal.

                    14                d. Plaintiff’s voluntarily dismissal of Mr. Melanese after the year period
                    15 expired when faced with a motion for summary judgement asserting he was simply

                    16 an employee of SeaWorld who did not act in an individual capacity, own or control

                    17 the premises, or contributed or witnessed the incident.

                    18
                              I declare under penalty of perjury under the laws of the State of California that the
                    19 foregoing is true and correct.

                    20

                    21
                       Executed this 1st day of May 2020, in San Diego, California, by: ______________________.
                    22                                                                          Guillermo Marrero
                    23

                    24

                    25

                    26

                    27

                    28

                                                                               -3-
   INTERNATIONAL                                          Declaration of Guillermo Marrero in Support of
PRACTICE GROUP , P . C .               Notice of Removal of Civil Action Under 28 U.S.C. § 1441 (b) and Demand for Jury Trial
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1001 Page 5 of 79




          EXHIBIT 1
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1002 Page 6 of 79

                                                                                   
                                                                                      
                                                                                 
                                                                                         
                
                ! " #!$ %  !& '          
                 ()* (   ) ( 
                +, -./ .01

                       

            ! " #!$ %  !& ' - & 2. 3" 4( ((5."6




                      !   "               !  #              $
   
                              !'&  &=    " - (2- #+(72.:42. ! " #!$ %  !& ' - & 2- (
                                         +2- "7(42
  "# %&                       4-  )+(-        (346- (((346- (7(- () +( 
  " '                            "&>  ? @ 0 ?#!& !  ?!-.
                                         4 A 1?# 
   "                         #4 + &B 8.0./+  ( '( #44   7  ,( .0.11
   $!#         $          ) (  84(-.     4  +4-.
     !"                8 # 44 :   ( 5
  ("                     +7 
           $ "         (  +, ,84 7( (4   4 , + + ))4  4:,  8
          %& ' %&          !8 , >C- 4;2
                                          +4  +:,-  ( 
                                           4  +4-..
                                         00
     #                           4 (, (  ( +    - !( "(5 - D)(, #   "(5
                                         

                                         &   #

                                         +    (7( -.    .+ 2E4< +,2 

                                         +    (7( -. # + ,8 .) +2,8E4< +,2 

                                         +    (7( -. ":, # < .":,2# <E4< +,2 

                                     ) (  84(
                                  4( :( ((
                                           4  +4-..
    !                             001




                                                                                 #   7 .  $
                                                                                 &7 (  ,4)+8,  (4 (4((+ 4 7  
                                                                                  ) ( 94  , *) ) ) 44 +8 , 4 ) :,, (
                                                                                 ( )( 7  ; * 72 4 7 (  , 4  (
                                                                                  4(( (  + + )  4 ( ( (  7 ( - (
                                                                                  ( 7 , 4- ( 4< ,(-  8 7 ( 
                                                                                  (,  ( ,  (4 (4+:42 !)( 4
                                                                                 4) 4+ 7  ()( 4, ,  (4 , 7  (*
                                                                                 )) )( ( 2  ( 4  (7, + )(4
                                                                                  7 )( 7 )*  +8-  (  ((42
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1003 Page 7 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1004 Page 8 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1005 Page 9 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1006 Page 10 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1007 Page 11 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1008 Page 12 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1009 Page 13 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1010 Page 14 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1011 Page 15 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1012 Page 16 of 79




          EXHIBIT 2
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1013 Page 17 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1014 Page 18 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1015 Page 19 of 79




          EXHIBIT 3
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1016 Page 20 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5
     Attorneys for Defendants
 6   SEAWORLD LLC, erroneously sued as
     “SeaWorld Parks & Entertainment, Inc.”;
 7
     and STEVEN MELANESE
 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                 FOR THE COUNTY OF SAN DIEGO

11                               CENTRAL DIVISION – HALL OF JUSTICE

12    ARTEMISA ELIZONDO, an individual,              Case No.: 37-2018-00057261-CU-PO-CTL

13                  Plaintiff,                       NOTICE OF DEMURRER AND
                                                     DEMURRER OF DEFENDANT STEVEN
14           v.                                      MELANESE
      SEAWORLD PARKS &                               Date: April 19, 2019
15    ENTERTAINMENT, INC.; STEVEN                    Time: 10:30 a.m
      MELANESE, an individual; and DOES 1            Dept.: C-68
16    through 100, inclusive,
                                                     Judge: Hon. Richard S. Whitney
17                  Defendants.
18

19

20

21

22

23

24

25

26

27

28



                           Notice of Demurrer and Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1017 Page 21 of 79



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          YOU ARE HEREBY NOTICED that on April 19, 2019, at 10:30 a.m., or as soon thereafter

 3   as the matter may be heard, in Department C-68 of the above-entitled Court, located at 330 West

 4   Broadway, San Diego, California 92101, Defendant Steven Melanese (“Mr. Melanese”) will and

 5   hereby does demur to the Complaint filed by Plaintiff Artemisa Elizondo (“Plaintiff”).

 6          The demurrer is made pursuant to California Code of Civil Procedure § 430.10 et seq. on the

 7   following legal grounds:

 8      1. The complaint fails to sufficiently allege that Mr. Melanese is properly joined with

 9   Defendant SeaWorld LLC as a defendant in this action. California Code of Civil Procedure § 430.10

10   (d); California Code of Civil Procedure § 379 (a)(1).

11      2. The complaint is uncertain and ambiguous as to Mr. Melanese, instead presenting an

12   impermissible “shotgun” mass of unclear allegations that group Mr. Melanese, Defendant SeaWorld

13   LLC, and Doe Defendants together. California Code of Civil Procedure § 430.10 (f).

14          This Demurrer is based upon the instant Notice and Demurrer, the Memorandum of Points

15   and Authorities, the Declaration of Chelsea Yamabe, all pleadings on file in this action, and any

16   other evidence or argument permitted at the hearing on this Demurrer.

17                                                         Respectfully submitted,

18   Dated: January 22, 2019                               INTERNATIONAL PRACTICE GROUP,
                                                           A PROFESSIONAL CORPORATION
19

20
                                                           By: _________________________________
21
                                                           GUILLERMO MARRERO
22                                                         CHELSEA YAMABE
                                                           Attorneys for Defendants
23                                                         SeaWorld LLC and Steven Melanese
24

25

26

27

28



                           Notice of Demurrer and Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1018 Page 22 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5
     Attorneys for Defendants
 6   SEAWORLD LLC, erroneously sued as
     “SeaWorld Parks & Entertainment, Inc.”;
 7
     and STEVEN MELANESE
 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                  FOR THE COUNTY OF SAN DIEGO

11                               CENTRAL DIVISION – HALL OF JUSTICE

12    ARTEMISA ELIZONDO, an individual,                Case No.: 37-2018-00057261-CU-PO-CTL

13                  Plaintiff,                         DECLARATION OF CHELSEA YAMABE
                                                       IN SUPPORT OF DEMURRER OF
14           v.                                        DEFENDANT STEVEN MELANESE
      SEAWORLD PARKS &                                 Date: April 19, 2019
15    ENTERTAINMENT, INC.; STEVEN                      Time: 10:30 a.m
      MELANESE, an individual; and DOES 1              Dept.: C-68
16    through 100, inclusive,
                                                       Judge: Hon. Richard S. Whitney
17                  Defendants.
18

19

20

21

22

23

24

25

26

27

28



                  Declaration of Chelsea Yamabe in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1019 Page 23 of 79



 1   Chelsea Yamabe declares as follows:

 2          1.      I am an attorney licensed to practice law before all courts of the State of California,

 3   and I am an attorney at International Practice Group, P.C. counsel of record for Defendant Steven

 4   Melanese and Defendant SeaWorld LLC in the above-referenced action.

 5          2.      I have personal knowledge of the matters set forth herein, and if called upon to testify

 6   as a witness regarding same, I could and would do so competently.

 7          3.      I make this declaration in support of Defendant Steven Melanese’s (“Mr. Melanese”)

 8   demurrer to the complaint filed by Plaintiff Artemisa Elizondo (“Plaintiff”).

 9          4.      On November 13, 2018, Plaintiff filed a complaint for personal injuries, alleging

10   causes of action for negligence and premises liability against SeaWorld 1, Mr. Melanese and Doe

11   Defendants.
12          5.      On November 21, 2018, Mr. Melanese was personally served with the summons and
13   complaint, making his responsive pleading due on December 21, 2018.
14          6.      On December 3, 2018, I called the office of Plaintiff’s counsel Raymond Ghermezian
15   in order to initiate the telephonic meet and confer process required by code. No one answered the
16   phone, so I left a voicemail for Mr. Ghermezian identifying myself and my clients, requesting
17   clarification as to why Mr. Melanese was named in Plaintiff’s complaint, indicating my intent to file
18   a demurrer on Mr. Melanese’s behalf, and requesting a return phone call to meet and confer
19   regarding the foregoing. I did not receive a return phone call.
20          7.      On December 5, 2018, I sent Mr. Ghermezian an email, again introducing myself and
21   my clients, seeking clarification as to why Mr. Melanese was named in Plaintiff’s complaint,
22   indicating my intent to file a demurrer on Mr. Melanese’s behalf, and requesting a return phone call
23   to meet and confer regarding the foregoing. True and correct copies of my email communications
24   with Mr. Ghermezian are attached hereto as Exhibit 1. Later that afternoon, Mr. Ghermezian
25   responded to my email, stating: “I will be in tomorrow to discuss. It relates to video surveillance. If
26

27   1
      SeaWorld was served with the Summons and Complaint on November 14, 2018, and timely filed its Answer on
     December 13, 2018.
28



                   Declaration of Chelsea Yamabe in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1020 Page 24 of 79



 1   you stip to keep in state court, I can ask client if she will dismiss.” See Exhibit 1, page 4.

 2          8.      On December 6, 2018, I replied to Mr. Ghermezian’s email requesting a call at 2:00

 3   p.m. that day to discuss the contents of his email. Mr. Ghermezian responded, confirming his

 4   availability for a phone call at 2:00 p.m. that day. See Exhibit 1, page 3. Accordingly, I called Mr.

 5   Ghermezian's office at 2:00 p.m. No one answered the phone, and I left another voicemail for Mr.

 6   Ghermezian requesting a return phone call and stating all dates and times during which she was

 7   available. Additionally, I emailed Mr. Ghermezian stating that I had called his office at the appointed

 8   time and left a voicemail. Again, I requested a return phone call. See Exhibit 1, page 2. I did not

 9   receive a return phone call.

10          9.      On December 10, 2018, I called Mr. Ghermezian’s office again. No one answered,

11   and I left a voicemail indicating the reason for my call and requesting a return phone call. I then sent

12   Mr. Ghermezian a further follow-up email, stating that I had called and left him a voicemail earlier

13   that day and requesting a return phone call or in the alternative, a firm date and time for a phone call.

14   I stated that I needed to meet and confer with him telephonically regarding my intentions to file a

15   demurrer to Plaintiff’s complaint on behalf of Mr. Melanese, as required by code. I further stated that

16   I was unclear as to how video surveillance related to Mr. Melanese and the allegations of the

17   complaint. See Exhibit 1, page 1.

18          10.     On December 11, 2018, Mr. Ghermezian replied to my email indicating that he would

19   be out of the office “until Monday,” or December 17, 2018. I responded to Mr. Ghermezian via

20   email a few minutes later, confirming that that he would be unable to meet and confer telephonically

21   regarding Mr. Melanese's proposed demurrer as required by code, until December 17, 2018. I also

22   advised Mr. Ghermezian that my office would be filing a declaration obtaining an automatic 30-day

23   extension of Mr. Melanese's time to file his responsive pleadings due to Mr. Ghermezian’s inability

24   to meet and confer telephonically prior to Friday, December 14, 2018, the deadline for the parties to

25   complete the telephonic meet and confer process required by code. See Exhibit 1, page 1. I did not

26   receive a response to my email.

27   ///

28   ///


                                                           2
                    Declaration of Chelsea Yamabe in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1021 Page 25 of 79



 1           11.      On December 13, 2018, I filed the relevant declaration, thereby extending Mr.

 2   Melanese’s time to file a responsive pleading to January 22, 2019. 2

 3           12.      On January 3, 2019, I emailed Mr. Ghermezian regarding his availability to
 4   telephonically meet and confer to discuss Mr. Melanese’s proposed demurrer. Mr. Ghermezian
 5   responded later that day by stating that he would be “out until next week.” Minutes later I replied
 6   that I would be available to meet at his convenience next “Monday or Tuesday.” True and correct
 7   copies of my email communications with Mr. Ghermezian are attached hereto Exhibit 2. Mr.
 8   Ghermezian did not respond further. See Exhibit 2, page 2.
 9           13.      On January 7, 2019, I sent a follow up email to Mr. Ghermezian confirming my
10   availability for that day and the following day. Again, Mr. Ghermezian did not respond. See Exhibit
11   2, page 1.
12           14.      On January 8, 2019, I called Mr. Ghermezian’s office with the intention of discussing
13   the demurrer. I was informed that he was unavailable and instructed to leave him a voicemail, which
14   I did, indicating the reason for my call and requesting a return phone call. I followed up the
15   voicemail with an email to the same effect. Mr. Ghermezian did not respond. See Exhibit 2, page 1.
16           15.      On January 16, 2019, I called Mr. Ghermezian’s office in a final attempt to meet and
17   confer with him telephonically regarding the instant demurrer. I was informed that he was with a
18   client and not available and left him a voicemail stating the reason for my call and requesting a
19   return phone call. I did not receive a return phone call.
20           16.      As of the execution and filing of this demurrer I have been unable to telephonically
21   meet and confer with counsel for Plaintiff as required per code.
22           I declare under penalty of perjury under the laws of the State of California that the foregoing
23   is true and correct.
24   Executed this 22nd day of January 2019, in San Diego, California, by: ______________________.
                                                                                 Chelsea Yamabe
25

26   2
       The thirtieth day after December 21, 2018, is January 20, 2019, a Sunday. Since Monday, January 21, 2019, is a court
27   holiday, Mr. Melanese’s time to file a responsive pleading is Tuesday, January 22, 2019, pursuant to California Code of
     Civil Procedure.
28


                                                                 3
                      Declaration of Chelsea Yamabe in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1022 Page 26 of 79




        EXHIBIT 1
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1023 Page 27 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1024 Page 28 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1025 Page 29 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1026 Page 30 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1027 Page 31 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1028 Page 32 of 79




       EXHIBIT 2
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1029 Page 33 of 79


 From:          Chelsea Yamabe Madsen
 To:            "raymond ghermezianlaw.com"
 Cc:            Guillermo Marrero; ADMIN @IPG
 Subject:       RE: [Elizondo v. SeaWorld] Meet & Confer re: Demurrer & Motion to Strike
 Date:          Tuesday, January 8, 2019 3:59:00 PM


 Hi Mr. Ghermezian,

 I just called your office hoping to speak with you, and you were not at your desk, so I
 left you a voicemail. Please call me at your earliest convenience. I am available today
 until 5 p.m. and tomorrow between 2 p.m. and 6 p.m. Thank you.

 Sincerely,

                      Chelsea Yamabe Madsen
                      International Practice Group
                      1350 Columbia Street, Suite 500
                      San Diego, California, 92101
                      Direct: (619) 515-1486
                      Facsimile: (619) 515-1481
                      Email: chelsea@ipglaw.com
                      Website:www.ipglaw.com




 From: Chelsea Yamabe Madsen
 Sent: Monday, January 7, 2019 1:27 PM
 To: 'raymond ghermezianlaw.com' <raymond@ghermezianlaw.com>
 Cc: Guillermo Marrero <GMarrero@ipglaw.com>; ADMIN @IPG <admin2ipg@ipglaw.com>
 Subject: RE: [Elizondo v. SeaWorld] Meet & Confer re: Demurrer & Motion to Strike

 Good afternoon:

 Following up on my previous email. My schedule remains open today and tomorrow.
 Please advise.

 Sincerely,

                      Chelsea Yamabe Madsen
                      International Practice Group
                      1350 Columbia Street, Suite 500
                      San Diego, California, 92101
                      Direct: (619) 515-1486
                      Facsimile: (619) 515-1481
                      Email: chelsea@ipglaw.com
                      Website:www.ipglaw.com
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1030 Page 34 of 79




 From: Chelsea Yamabe Madsen
 Sent: Thursday, January 3, 2019 2:07 PM
 To: 'raymond ghermezianlaw.com' <raymond@ghermezianlaw.com>
 Cc: Guillermo Marrero <GMarrero@ipglaw.com>; ADMIN @IPG <admin2ipg@ipglaw.com>
 Subject: RE: [Elizondo v. SeaWorld] Meet & Confer re: Demurrer & Motion to Strike

 I can be available via phone at your convenience on Monday or Tuesday; please advise
 which date and time works for you.

 Thank you,

                         Chelsea Yamabe Madsen
                         International Practice Group
                         1350 Columbia Street, Suite 500
                         San Diego, California, 92101
                         Direct: (619) 515-1486
                         Facsimile: (619) 515-1481
                         Email: chelsea@ipglaw.com
                         Website:www.ipglaw.com




 From: raymond ghermezianlaw.com <raymond@ghermezianlaw.com>
 Sent: Thursday, January 3, 2019 1:59 PM
 To: Chelsea Yamabe Madsen <Chelsea@ipglaw.com>
 Cc: Guillermo Marrero <GMarrero@ipglaw.com>; ADMIN @IPG <admin2ipg@ipglaw.com>
 Subject: RE: [Elizondo v. SeaWorld] Meet & Confer re: Demurrer & Motion to Strike

 I will be out until next week.

 From: Chelsea Yamabe Madsen <Chelsea@ipglaw.com>
 Sent: Thursday, January 03, 2019 1:52 PM
 To: raymond ghermezianlaw.com <raymond@ghermezianlaw.com>
 Cc: Guillermo Marrero <GMarrero@ipglaw.com>; ADMIN @IPG <admin2ipg@ipglaw.com>
 Subject: [Elizondo v. SeaWorld] Meet & Confer re: Demurrer & Motion to Strike

 Good afternoon Mr. Ghermezian:

 Are you available tomorrow at 2 p.m. to telephonically meet and confer re: Mr.
 Melanese’s proposed demurrer and accompanying motion to strike? If not, please
 propose alternative dates and times within the next few days.

 I will also be in the office for the remainder of the afternoon today.

 Sincerely,
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1031 Page 35 of 79




                 Chelsea Yamabe Madsen
                 International Practice Group
                 1350 Columbia Street, Suite 500
                 San Diego, California, 92101
                 Direct: (619) 515-1486
                 Facsimile: (619) 515-1481
                 Email: chelsea@ipglaw.com
                 Website:www.ipglaw.com
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1032 Page 36 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5
     Attorneys for Defendants
 6   SEAWORLD LLC, erroneously sued as
     “SeaWorld Parks & Entertainment, Inc.”;
 7
     and STEVEN MELANESE
 8

 9                      SUPERIOR COURT OF THE STATE OF CALIFORNIA

10                                  FOR THE COUNTY OF SAN DIEGO

11                               CENTRAL DIVISION – HALL OF JUSTICE

12    ARTEMISA ELIZONDO, an individual,               Case No.: 37-2018-00057261-CU-PO-CTL

13                  Plaintiff,                        MEMORANDUM OF POINTS AND
                                                      AUTHORITIES IN SUPPORT OF
14           v.                                       DEMURRER OF DEFENDANT STEVEN
                                                      MELANESE
      SEAWORLD PARKS &
15    ENTERTAINMENT, INC.; STEVEN                     Date: April 19, 2019
      MELANESE, an individual; and DOES 1             Time: 10:30 a.m
16    through 100, inclusive,                         Dept.: C-68
17                  Defendants.                       Judge: Hon. Richard S. Whitney

18

19

20

21

22

23

24

25

26

27

28



              Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1033 Page 37 of 79



 1   I.        PRELIMINARY STATEMENT

 2             This suit for personal injuries arises out of an alleged fall that occurred on June 26, 2018, in

 3   the Explorer’s Reef Café at SeaWorld San Diego. Plaintiff Artemisa Elizondo’s (“Plaintiff”)

 4   Complaint names Steven Melanese (“Mr. Melanese”) and SeaWorld LLC, erroneously sued as

 5   “SeaWorld Parks & Entertainment, Inc.” (“SeaWorld”) as Defendants. Mr. Melanese presents the

 6   instant demurrer to Plaintiff’s Complaint, which fails to plead any facts specific to Mr. Melanese,

 7   instead generalizing SeaWorld, Mr. Melanese, and all Doe Defendants together: (1) presenting a

 8   defect in the allegations regarding joinder of Defendants and (2) rendering the Complaint

 9   impermissibly uncertain and ambiguous as to Mr. Melanese. Over the course of several weeks,

10   counsel for Mr. Melanese made numerous attempts to meet and confer telephonically with Plaintiff’s

11   counsel regarding the instant demurrer as required by law, to no avail. Accordingly, Mr. Melanese

12   requests that this Court sustain his demurrer without leave to amend.

13       II.   RELEVANT FACTUAL BACKGROUND

14             On November 13, 2018, Plaintiff filed a complaint for personal injuries, alleging causes of
15   action for negligence and premises liability against SeaWorld 1, Mr. Melanese and Doe Defendants.
16   Declaration of Chelsea Yamabe (“Yamabe Decl.”), ¶ 4.
17             On November 21, 2018, Mr. Melanese was personally served with the summons and
18   complaint, making his responsive pleading due on December 21, 2018. Yamabe Decl., ¶ 5.
19             On December 3, 2018, Chelsea Yamabe, counsel for Mr. Melanese, called the office of
20   Plaintiff’s counsel Raymond Ghermezian in order to initiate the telephonic meet and confer process
21   required by code. No one answered the phone, so Ms. Yamabe left a voicemail for Mr. Ghermezian
22   identifying herself and her clients, requesting clarification as to why Mr. Melanese was named in
23   Plaintiff’s complaint, indicating her intent to file a demurrer on Mr. Melanese’s behalf, and
24   requesting a return phone call to meet and confer regarding the foregoing. Ms. Yamabe did not
25   receive a return phone call. Yamabe Decl., ¶ 6.
26

27   1
      SeaWorld was served with the Summons and Complaint on November 14, 2018, and timely filed its Answer on
     December 13, 2018.
28



                 Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1034 Page 38 of 79



 1             On December 5, 2018, Ms. Yamabe sent Mr. Ghermezian an email, again introducing herself

 2   and her clients, seeking clarification as to why Mr. Melanese was named in Plaintiff’s complaint,

 3   indicating her intent to file a demurrer on Mr. Melanese’s behalf, and requesting a return phone call

 4   to meet and confer regarding the foregoing. Later that afternoon, Mr. Ghermezian responded to Ms.

 5   Yamabe’s email, stating: “I will be in tomorrow to discuss. It relates to video surveillance. If you stip

 6   to keep in state court, I can ask client if she will dismiss.” Yamabe Decl., ¶ 7, and Exhibit 1 thereto,

 7   page 4.

 8             On December 6, 2018, Ms. Yamabe replied to Mr. Ghermezian’s email requesting a call at

 9   2:00 p.m. that day to discuss the contents of his email. Mr. Ghermezian responded, confirming his

10   availability for a phone call at 2:00 p.m. that day. [Exhibit 1 to Yamabe Decl., page 3.] Accordingly,

11   Ms. Yamabe called Mr. Ghermezian's office at 2:00 p.m. No one answered the phone, and Ms.

12   Yamabe left another voicemail for Mr. Ghermezian requesting a return phone call and stating all

13   dates and times during which she was available. Additionally, Ms. Yamabe emailed Mr. Ghermezian

14   stating that she had called his office at the appointed time and left a voicemail. Again, Ms. Yamabe

15   requested a return phone call. [Exhibit 1 to Yamabe Decl., page 2.] Ms. Yamabe did not receive a

16   return phone call. Yamabe Decl., ¶ 8.

17             On December 10, 2018, Ms. Yamabe called Mr. Ghermezian’s office again. No one

18   answered, and she left a voicemail indicating the reason for her call and requesting a return phone

19   call. Ms. Yamabe then sent Mr. Ghermezian a further follow-up email, stating that she had called

20   and left him a voicemail earlier that day and requesting a return phone call or in the alternative, a

21   firm date and time for a phone call. Ms. Yamabe stated that she needed to meet and confer with him

22   telephonically regarding her intentions to file a demurrer to Plaintiff’s complaint on behalf of Mr.

23   Melanese, as required by code. Ms. Yamabe further stated that she was unclear as to how video

24   surveillance related to Mr. Melanese and the allegations of the complaint. [Exhibit 1 to Yamabe

25   Decl., page 1.] Yamabe Decl., ¶ 9.

26             On December 11, 2018, Mr. Ghermezian replied to her email indicating that he would be out

27   of the office “until Monday,” or December 17, 2018. Ms. Yamabe responded to Mr. Ghermezian via

28   email a few minutes later, confirming that that he would be unable to meet and confer telephonically


                                                             2
                  Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1035 Page 39 of 79



 1   regarding Mr. Melanese's proposed demurrer as required by code, until December 17, 2018. Ms.

 2   Yamabe also advised Mr. Ghermezian that her office would be filing a declaration obtaining an

 3   automatic 30-day extension of Mr. Melanese's time to file his responsive pleadings due to Mr.

 4   Ghermezian’s inability to meet and confer telephonically prior to Friday, December 14, 2018, the

 5   deadline for the parties to complete the telephonic meet and confer process required by code.

 6   [Exhibit 1 to Yamabe Decl., page 1.] Ms. Yamabe did not receive a response to her email. Yamabe

 7   Decl., ¶ 10.

 8           On December 13, 2018, Ms. Yamabe filed the relevant declaration, thereby extending Mr.

 9   Melanese’s time to file a responsive pleading to January 22, 2019. 2 Yamabe Decl., ¶ 11.

10           On January 3, 2019, Ms. Yamabe emailed Mr. Ghermezian regarding his availability to
11   telephonically meet and confer to discuss Mr. Melanese’s proposed demurrer. Mr. Ghermezian
12   responded later that day by stating that he would be “out until next week.” Minutes later Ms. Yamabe
13   replied she would be available to meet at his convenience next “Monday or Tuesday.” See Exhibit 2,
14   to Yamabe Decl. page 2. Mr. Ghermezian did not respond further. Yamabe Decl., ¶ 12.
15           On January 7, 2019, Ms. Yamabe sent a follow up email to Mr. Ghermezian confirming her
16   availability for that day and the following day. Again, Mr. Ghermezian did not respond. [Exhibit 2
17   to Yamabe Decl., page 2]. Yamabe Decl., ¶ 13.
18           On January 8, 2019, Ms. Yamabe called Mr. Ghermezian’s office with the intention of
19   discussing the demurrer. She was informed that he was unavailable and instructed to leave him a
20   voicemail, which she did, indicating the reason for her call and requesting a return phone call. She
21   followed up the voicemail with an email to the same effect. Mr. Ghermezian did not respond.
22   [Exhibit 2 to Yamabe Decl., page 1]. Yamabe Decl., ¶ 14.
23           On January 16, 2019, Ms. Yamabe called Mr. Ghermezian’s office in a final attempt to meet
24   and confer with him telephonically regarding the instant demurrer. She was informed that he was
25

26   2
       The thirtieth day after December 21, 2018, is January 20, 2019, a Sunday. Since Monday, January 21, 2019, is a court
27   holiday, Mr. Melanese’s time to file a responsive pleading is Tuesday, January 22, 2019, pursuant to California Code of
     Civil Procedure.
28


                                                                 3
                  Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1036 Page 40 of 79



 1   with a client and not available and left him a voicemail stating the reason for her call and requesting

 2   a return phone call. Ms. Yamabe did not receive a return phone call. Yamabe Decl., ¶ 15.

 3          As of the execution and filing of this demurrer Ms. Yamabe has been unable to

 4   telephonically meet and confer with counsel for Plaintiff as required per code. Yamabe Decl., ¶ 16.

 5   III.   LEGAL STANDARDS APPLICABLE TO DEMURRERS

 6          “When any ground for an objection to a complaint appears on the face thereof, the objection
 7   on that ground may be taken by demurrer to the pleading.” California Code of Civil Procedure §
 8   430.30 (a). A demurrer may be sustained as to a complaint in its entirety. California Code of Civil
 9   Procedure § 430.50(a). The primary “function of a demurrer is to test the sufficiency of plaintiffs’
10   pleading by raising questions of law.” Buford v. State of Cal., 104 Cal. App. 3d 811, 818 (1980).
11   Although a demurrer admits all material facts that were properly pled, a demurrer does not assume
12   the truth of contentions, deductions, or conclusions of facts or law. Leyva v. Nielsen, 83 Cal. App.
13   4th 1061, 1063 (2000); Ellenberger v. Espinosa, 30 Cal. App. 4th 943, 947 (1994). Furthermore, a
14   court must not accept bare legal conclusions as true for purposes of ruling on a demurrer. Serrano v.
15   Priest, 5 Cal. 3d 584, 591 (1971).
16   IV.    THE COMPLAINT FAILS TO SUFFICIENTLY ALLEGE THAT MR. MELANESE
17          IS PROPERLY JOINED WITH SEAWORLD AS A DEFENDANT IN THIS ACTION.
18          Pursuant to California Code of Civil Procedure § 430.10 (d), a party answering a complaint
19   may object to the complaint by way of demurrer on the ground that there is a “defect or misjoinder
20   of parties.” As to the proper joinder of defendants, California Code of Civil Procedure § 379
21   provides:
22          All persons may be joined in one action as defendants if there is asserted against
            them […] Any right to relief jointly, severally, or in the alternative, in respect of
23          or arising out of the same transaction, occurrence, or series of transactions or
            occurrences and if any question of law or fact common to all these persons will
24
            arise in the action […]. California Code of Civil Procedure § 379 (a)(1).
25

26   Designating the persons who are improperly joined is sufficient, and the reasons a joinder is

27   improper need not be stated in a demurrer. Gardner v. Samuels, 116 Cal. 84, 88 (1897). Although

28   Courts sometimes liberally construe California’s joinder statutes, neither those statutes nor pertinent


                                                            4
                 Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1037 Page 41 of 79



 1   case law permit unlimited joinder, and the existence of possible or speculative common questions of

 2   law and fact is not enough by itself to permit joinder. Hoag v. Sup. Ct., 207 Cal. App. 2d 611, 618

 3   (1962).

 4             Here, the allegations in Plaintiff’s Complaint do not provide any information suggesting the

 5   reason that Mr. Melanese is named as a defendant in this action. At best, they suggest “possible or

 6   speculative common questions of law and fact”, which California Courts have held are insufficient to

 7   support joinder. Hoag, supra, 207 Cal. App. 2d at 618. For example, paragraph 8 of the Complaint

 8   alleges as follows:

 9             Plaintiff is informed and believes and thereon alleges that at all times herein
               mentioned, defendant, SEAWORLD PARKS & ENTERTAINMENT, INC.,
10             STEVEN MELANESE; and DOE defendants 1 through 100, inclusive, owned,
               maintained, controlled, possessed, repaired, inspected, operated, designed, built,
11
               managed and cleaned certain walkway surfaces located at its SEAWORLD
12             PARKS & ENTERTAINMENT, INC., STEVEN MELANESE [sic], located at
               Explorer's Cafe area [sic], 500 Sea World Drive, San Diego, CA 92109, which
13             were involved in the incident hereinafter described.
14   The other portions of the Complaint are nearly identically worded, leaving Mr. Melanese to wonder
15   which of the actions—owning, maintaining, controlling, possessing, repairing, inspecting, operating,
16   designing, building, managing, or cleaning—he is alleged to have taken, and which were allegedly
17   taken by SeaWorld. Put another way, the Complaint does not sufficiently allege whether Mr.
18   Melanese and SeaWorld took some action that was part of the same “transaction, occurrence, or
19   series of transactions or occurrences”—the standard for proper joinder of defendants. California

20   Code of Civil Procedure § 379 (a)(1). Accordingly, Plaintiff’s Complaint fails due to insufficient

21   allegations regarding joinder of defendants, and the demurrer should be sustained without leave to

22   amend.

23    V.       THE COMPLAINT IS UNCERTAIN AND AMBIGUOUS AS TO MR. MELANESE.

24             A demurrer must be sustained when the pleading is uncertain, ambiguous, or intelligible.

25   California Code of Civil Procedure § 430.10(f). A “shotgun” mass of unclear allegations is

26   impermissibly uncertain, as it prevents a defendant from formulating an informed response to the

27   complaint. Khoury v. Maly’s of California, Inc., 14 Cal. App. 4th 612, 616 (1993). Plaintiff has a

28   duty to plead essential facts with reasonable precision and with particularity to acquaint a defendant


                                                             5
                  Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1038 Page 42 of 79



 1   with the nature, source, and extent of his cause of action. Ludgate Ins. v. Lockheed Martin Corp., 82

 2   Cal. App. 4th 592, 608). Further, the complaint “must set forth the facts with sufficient precision to

 3   put the defendant on notice about what the plaintiff is complaining and what remedies are being

 4   sought.” Leek v. Cooper, 194 Cal. App. 4th 399, 415 (2011). The pleading must allege facts not

 5   conclusions, and material facts must be alleged directly and not by way of recital. Ankey v. Lockheed

 6   Missiles & Space Co., 88 Cal. App. 3d 531, 537 (1979); Vilardo v. County of Sacramento¸ 54 Cal.

 7   App. 2d 413, 418-19 (1942).

 8          Plaintiff’s Complaint fails to do any of the foregoing with respect to Mr. Melanese. Instead, it

 9   takes the impermissible “shotgun” approach, lumping Mr. Melanese, SeaWorld, and Doe Defendants

10   together throughout the entirety of the Complaint, without providing any specific allegations as to

11   what one defendant did or failed to do separate and apart from another. For example, paragraph 9 of

12   the Complaint alleges:

13          That on or about June 26, 2018, at the aforementioned time and place, defendant
            SEAWORLD PARKS & ENTERTAINMENT, INC., STEVEN MELANESE and
14          DOE defendants 1 through 100, inclusive, so negligently, carelessly and
            recklessly owned, maintained, controlled, possessed, repaired, inspected,
15
            operated, designed, built, managed and cleaned certain walkway surfaces located
16          at its SEAWORLD PARKS & ENTERTAINMENT, INC., STEVEN
            MELANESE [sic], located at Explorer’s Cafe area, 500 Sea World Drive, San
17          Diego, CA 92109 , in a dangerous condition, so as cause plaintiff to slip and fall,
            thereby proximately causing the plaintiff to sustain injuries and damages as set
18          forth herein.
19
            As noted in the previous section, the other paragraphs of the Complaint are no different,
20
     leaving Mr. Melanese to guess as to what Plaintiff alleges he did or failed to do. Plaintiff’s
21   Complaint therefore fails due to its uncertainty and ambiguity as to Mr. Meleanse, and on that basis
22   the demurrer should be sustained without leave to amend.
23   VI.    CONCLUSION AND RELIEF REQUESTED
24          Plaintiff’s Complaint lumps SeaWorld, Mr. Melanese, and 100 Doe Defendants into one
25   group of wrongdoers who have all “negligently, carelessly and recklessly owned, maintained,
26   controlled, possessed, repaired, inspected, operated, designed, built, managed and cleaned certain
27   walkway surfaces.” Plaintiff’s Complaint therefore fails on two grounds, both of which make it

28   subject to demurrer by Mr. Melanese: (1) insufficient allegations regarding proper joinder of


                                                           6
                Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1039 Page 43 of 79



 1   defendants and (2) uncertainty and ambiguity. In its current state, the Complaint fails to sufficiently

 2   apprise Mr. Melanese of the allegations against him. This demurrer should therefore be sustained

 3   without leave to amend.

 4                                                             Respectfully submitted,

 5   Dated: January 22, 2019                                   INTERNATIONAL PRACTICE GROUP,
                                                               A PROFESSIONAL CORPORATION
 6

 7                                                             By: _________________________________
 8                                                             GUILLERMO MARRERO
                                                               CHELSEA YAMABE
 9
                                                               Attorneys for Defendants
10                                                             SeaWorld LLC and Steven Melanese

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                           7
                Memorandum of Points and Authorities in Support of Demurrer of Defendant Steven Melanese
              Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1040 Page 44 of 79



                   1 GUILLERMO MARRERO, ESQ., State Bar No. 099056
                     CHELSEA YAMABE, ESQ., State Bar No. 272852
                   2 INTERNATIONAL PRACTICE GROUP, P.C.
                     1350 Columbia Street, Suite 500
                   3 San Diego, California 92101
                     Telephone: (619) 515-1486
                   4 Facsimile: (619) 515-1481
                     Attorneys for Defendant
                   5 SEAWORLD LLC, erroneously sued as
                     “SeaWorld Parks & Entertainment, Inc.”;
                   6 and STEVEN MELANESE

                   7

                   8

                   9                       SUPERIOR COURT OF THE STATE OF CALIFORNIA
                 10                               FOR THE COUNTY OF SAN DIEGO
                 11                             CENTRAL DIVISION – HALL OF JUSTICE
                 12
                         ARTEMISA ELIZONDO, an individual,    ) Case No.: 37-2018-00057261-CU-PO-CTL
                 13                                           )
                                   Plaintiff,                 )
                 14                                           ) PROOF OF SERVICE
                                      v.                      )
                 15                                           )
                    SEAWORLD PARKS &                          )
                 16 ENTERTAINMENT, INC.; STEVEN               )
                    MELANESE, an individual; and DOES 1       )
                 17 through 100, inclusive,                   )
                                                              )
                 18               Defendants.                 )
                                                              )
                 19

                 20

                 21

                 22

                 23

                 24

                 25

                 26

                 27

                 28

   INTERNATIONAL                                             Proof of Service
P RACTICE GROUP , P.C.
                Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1041 Page 45 of 79



                     1 Chelsea Yamabe certifies and declares as follows:

                     2          I am over eighteen (18) years of age and am not a party to this action.

                     3          My business address is 1350 Columbia Street, Suite 500, San Diego, California, 92101,

                     4 which is located in the city, county, and state where the mailing described below took place.

                     5          SERVICE BY FIRST CLASS MAIL: I am readily familiar with International Practice

                     6 Group, P.C.’s practices for collection and processing of documents for mailing with the United

                     7 States Postal Service. On January 22, 2019, I caused the document(s) described in Appendix A

                     8 hereto, to be placed in a sealed envelope, addressed to the following person(s) on whom it is to be

                     9 delivered, with postage thereon prepaid, to be deposited with the United States Postal Service at

                   10 San Diego, California, that same day in the ordinary course of business.

                   11
                                                 Raymond Ghermezian, Esq.
                   12            RAYMOND GHERMEZIAN, A PROFESSIONAL LAW CORPORATION
                   13                        3435 Wilshire Boulevard, Suite 1800
                                                Los Angeles, California 90010
                   14

                   15           I declare under penalty of perjury, under the laws of the State of California that the

                   16 foregoing is true and correct.

                   17 Dated: January 22, 2019

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
                                                                         -1-
   INTERNATIONAL
                                                                    Proof of Service
PRACTICE GROUP , P . C .
                Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1042 Page 46 of 79



                     1                                       APPENDIX A

                     2                                  List of Documents Served

                     3        1.     Notice of Demurrer and Demurrer of Defendant Steven Melanese

                     4        2.     Declaration of Chelsea Yamabe in Support of Demurrer of Defendant Steven

                     5 Melanese and Exhibits Thereto

                     6        3.     Memorandum of Points and Authorities in Support of Demurrer of Defendant

                     7 Steven Melanese

                     8

                     9

                   10

                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
                                                                   -2-
   INTERNATIONAL
                                                              Proof of Service
PRACTICE GROUP , P . C .
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1043 Page 47 of 79




          EXHIBIT 4
        Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1044 Page 48 of 79
                              SUPERIOR COURT OF CALIFORNIA,
                                  COUNTY OF SAN DIEGO
                                        CENTRAL
                                            MINUTE ORDER
DATE: 04/19/2019                    TIME: 10:30:00 AM                   DEPT: C-68
JUDICIAL OFFICER PRESIDING: Richard S. Whitney
CLERK: Meaghan Abosamra
REPORTER/ERM: Not Reported
BAILIFF/COURT ATTENDANT: Henry Whatley

CASE NO: 37-2018-00057261-CU-PO-CTL CASE INIT.DATE: 11/13/2018
CASE TITLE: Elizondo vs Seaworld Parks & Entertainment Inc [IMAGED]
CASE CATEGORY: Civil - Unlimited    CASE TYPE: PI/PD/WD - Other


EVENT TYPE: Demurrer / Motion to Strike



APPEARANCES
Raymond Ghermezian, counsel, present for Plaintiff(s) telephonically.
Chelsea Yamabe, specially appearing for counsel Guillermo Marrero, present for Defendant(s).
Motions:
The matter now before the Court: Demurrer
The Court CONFIRMS the tentative ruling as follows:
TENTATIVE RULING: Defendant Steven Melanese's Demurrer is OVERRULED.
"[T]he modern joinder statutes are to be liberally construed and applied," but where there is "no doubt as
to the person from whom plaintiffs claim they are entitled to redress" a demurrer based on misjoinder
may be sustained. (Hoag v. Superior Court of Los Angeles County (1962) 207 Cal.App.2d 611, 618.)
While it is true Plaintiff apparently lumps Defendant Steven Melanese in with SeaWorld as to allegations
of ownership, control, possession, maintenance, design, repair, and inspection, there are no facts
alleged or judicially noticeable information before the Court that indicate it is not possible that Defendant
Steven Melanese jointly "owned, maintained, controlled, possessed, repaired, inspected, operated,
designed, built, managed and cleaned certain walkway surfaces" at SeaWorld.
Defendant Steven Melanese also asserts the complaint is uncertain, ambiguous, or intelligible. "A
demurrer for uncertainty is strictly construed, even where a complaint is in some respects uncertain,
because ambiguities can be clarified under modern discovery procedures." (Khoury v. Maly's of
California, Inc. (1993) 14 Cal.App.4th 612, 616.) Discovery can clarify whether Defendant Steven
Melanese "owned, maintained, controlled, possessed, repaired, inspected, operated, designed, built,
managed and cleaned certain walkway surfaces" at SeaWorld or whether he merely inspected or
cleaned surfaces.




DATE: 04/19/2019                                 MINUTE ORDER                                       Page 1
DEPT: C-68                                                                                   Calendar No. 54
       Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1045 Page 49 of 79
CASE TITLE: Elizondo vs Seaworld Parks &            CASE NO: 37-2018-00057261-CU-PO-CTL
Entertainment Inc [IMAGED]

The demurrer is overruled.
Parties waive notice.




DATE: 04/19/2019                       MINUTE ORDER                               Page 2
DEPT: C-68                                                                 Calendar No. 54
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1046 Page 50 of 79




          EXHIBIT 5
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1047 Page 51 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5   gmarrero@ipglaw.com
     cyamabe@ipglaw.com
 6

 7   Attorneys for Defendants
     SEAWORLD LLC and STEVEN MELANESE
 8

 9
                      SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                 FOR THE COUNTY OF SAN DIEGO
11
                               CENTRAL DIVISION – HALL OF JUSTICE
12
      ARTEMISA ELIZONDO, an individual,              Case No.: 37-2018-00057261-CU-PO-CTL
13
                  Plaintiff,                         DEFENDANT STEVEN MELANESE’s
14                                                   NOTICE OF MOTION AND MOTION FOR
            v.                                       SUMMARY JUDGMENT
15
      SEAWORLD PARKS &                               Date: May 1, 2020
16    ENTERTAINMENT, INC.; STEVEN                    Time: 10:00 a.m.
      MELANESE, an individual; and DOES 1
      through 100, inclusive,                        Dept.: C-68
17                                                   Judge: Hon. Richard S. Whitney
18                Defendants.

19

20

21

22

23

24

25

26

27

28



                 Defendant Steven Melanese’s Notice of Motion and Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1048 Page 52 of 79



 1   TO THE COURT, ALL PARTIES, AND THEIR COUNSEL OF RECORD:

 2          YOU ARE HEREBY NOTICED that on May 1, 2020, at 10:00 a.m., or as soon thereafter as

 3   the matter may be heard, in Department C-68 of the above-entitled Court, located at 330 West
 4   Broadway, San Diego, California 92101, Defendant Steven Melanese (“Mr. Melanese”) will and
 5   hereby does move this Court for an Order granting him summary judgment.
 6          This personal injury case arises out of an alleged slip-and-fall that occurred in a restaurant at
 7   SeaWorld San Diego next to a “CAUTION: WET FLOOR” sign. For reasons unbeknownst to all,
 8   Plaintiff Artemisa Elizondo has sued both Defendant SeaWorld LLC and its then-Vice President of
 9   Park Operations, Mr. Melanese, for her injuries and damages. Mr. Melanese was not involved in the
10   subject incident or any of the events leading up to it. He was not responsible for the condition of the
11   premises. He had no involvement with either the alleged spill and substance on the floor of the
12   restaurant, nor the placement of the cautionary signage.
13          By way of this Motion for Summary Judgment, Mr. Melanese attempts to remove himself from
14   this lawsuit, in which Plaintiff has: (a) filed a Complaint alleging causes of action for negligence and
15   premises liability against Defendant SeaWorld LLC (“Defendant SeaWorld”) and Mr. Melanese in
16   conclusory fashion, lumping Mr. Melanese, SeaWorld, and Doe Defendants together throughout the
17   entirety of the Complaint, without providing any specific allegations as to what one defendant did or
18   failed to do separate and apart from another; and (b) failed to conduct any discovery of either Mr.
19   Melanese or Defendant SeaWorld concerning Mr. Melanese’s involvement in or knowledge of the
20   incident.
21          Summary judgment is entirely appropriate here as there is no triable issue of material fact as to
22   whether Mr. Melanese had any involvement in the subject incident, and Plaintiff cannot and will not
23   be able to present specific facts supporting any independent theory of liability against Mr. Melanese.
24          Mr. Melanese is entitled to a grant of summary judgment in his favor on both of Plaintiff’s
25   causes of action for negligence and premises liability. No triable issue of material fact exists as to
26   whether Mr. Melanese had any involvement in or knowledge of the subject incident whatsoever, and
27   Plaintiff cannot and will not be able to present specific facts supporting any independent theory of
28   liability against Mr. Melanese.

                                                          1

                    Defendant Steven Melanese’s Notice of Motion and Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1049 Page 53 of 79



 1          This motion is based upon the instant Notice of Motion and Motion, the Memorandum of Points

 2   and Authorities, the Declaration of Chelsea Yamabe, and the Declaration of Steven Melanese, all filed

 3   herewith; all pleadings on file in this action; and any other evidence or argument permitted at the

 4   hearing on this motion.

 5                                                 Respectfully submitted,

 6   Dated: February 14, 2020                      INTERNATIONAL PRACTICE GROUP,
                                                   A PROFESSIONAL CORPORATION
 7

 8
                                                   By: _______________________________
 9                                                        GUILLERMO MARRERO, ESQ.
                                                          CHELSEA YAMABE, ESQ.
10                                                        Attorneys for Defendants
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                          2

                    Defendant Steven Melanese’s Notice of Motion and Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1050 Page 54 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5   gmarrero@ipglaw.com
     cyamabe@ipglaw.com
 6

 7   Attorneys for Defendants
     SEAWORLD LLC and STEVEN MELANESE
 8

 9
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                    FOR THE COUNTY OF SAN DIEGO
11
                                  CENTRAL DIVISION – HALL OF JUSTICE
12
      ARTEMISA ELIZONDO, an individual,                 Case No.: 37-2018-00057261-CU-PO-CTL
13
                     Plaintiff,                         DECLARATION OF CHELSEA YAMABE IN
14                                                      SUPPORT OF DEFENDANT STEVEN
             v.                                         MELANESE’s MOTION FOR SUMMARY
15                                                      JUDGMENT
      SEAWORLD PARKS &
16    ENTERTAINMENT, INC.; STEVEN                       Date: May 1, 2020
      MELANESE, an individual; and DOES 1               Time: 10:00 a.m.
17    through 100, inclusive,
                                                        Dept.: C-68
                     Defendants.                        Judge: Hon. Richard S. Whitney
18

19

20

21

22

23

24

25

26

27

28



         Declaration of Chelsea Yamabe in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1051 Page 55 of 79



 1   Chelsea Yamabe declares as follows:

 2         1.       I am an attorney licensed to practice law before all courts of the State of California, and

 3   I am an associate at International Practice Group, P.C., counsel of record for Defendant Steven

 4   Melanese (“Mr. Melanese”) and Defendant SeaWorld LLC (“SeaWorld”) in the above-referenced

 5   action.

 6         2.       I have personal knowledge of the matters set forth herein, and if called upon to testify

 7   as a witness regarding same, I could and would do so competently.

 8         3.       I make this declaration in support of Mr. Melanese’s Motion for Summary Judgment.

 9         4.       Plaintiff alleges that she slipped and fell in the Explorer’s Reef Café at SeaWorld San

10   Diego on June 26, 2018.

11         5.       To date, Plaintiff has conducted no discovery of Mr. Melanese.

12         6.       Plaintiff has not served Mr. Melanese with any written discovery requests.

13         7.       Plaintiff has not sought to depose Mr. Melanese.

14         8.       Plaintiff has not conducted any discovery of Defendant SeaWorld seeking to ascertain

15   the viability of her causes of action against Mr. Melanese.

16         I declare under penalty of perjury under the laws of the State of California that the foregoing is

17   true and correct.

18
     Executed this 14th day of January 2020, in San Diego, California, by: ______________________.
19                                                                             Chelsea Yamabe
20

21

22

23

24

25

26

27

28

                                                           1

          Declaration of Chelsea Yamabe in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1052 Page 56 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5   gmarrero@ipglaw.com
     cyamabe@ipglaw.com
 6

 7   Attorneys for Defendants
     SEAWORLD LLC and STEVEN MELANESE
 8

 9
                         SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                     FOR THE COUNTY OF SAN DIEGO
11
                                   CENTRAL DIVISION – HALL OF JUSTICE
12
      ARTEMISA ELIZONDO, an individual,                  Case No.: 37-2018-00057261-CU-PO-CTL
13
                      Plaintiff,                         DECLARATION OF STEVEN MELANESE
14                                                       IN SUPPORT OF DEFENDANT STEVEN
             v.                                          MELANESE’s MOTION FOR SUMMARY
15                                                       JUDGMENT
      SEAWORLD PARKS &
16    ENTERTAINMENT, INC.; STEVEN                        Date: May 1, 2020
      MELANESE, an individual; and DOES 1                Time: 10:00 a.m.
17    through 100, inclusive,
                                                         Dept.: C-68
                      Defendants.                        Judge: Hon. Richard S. Whitney
18

19

20

21

22

23

24

25

26

27

28



         Declaration of Steven Melanese in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1053 Page 57 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1054 Page 58 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5   gmarrero@ipglaw.com
     cyamabe@ipglaw.com
 6

 7   Attorneys for Defendants
     SEAWORLD LLC and STEVEN MELANESE
 8

 9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                     FOR THE COUNTY OF SAN DIEGO
11
                                   CENTRAL DIVISION – HALL OF JUSTICE
12
      ARTEMISA ELIZONDO, an individual,                  Case No.: 37-2018-00057261-CU-PO-CTL
13
                      Plaintiff,                         MEMORANDUM OF POINTS AND
14                                                       AUTHORITIES IN SUPPORT OF
              v.                                         DEFENDANT STEVEN MELANESE’s
15                                                       MOTION FOR SUMMARY JUDGMENT
      SEAWORLD PARKS &
16    ENTERTAINMENT, INC.; STEVEN                        Date: May 1, 2020
      MELANESE, an individual; and DOES 1                Time: 10:00 a.m.
17    through 100, inclusive,
                                                         Dept.: C-68
                      Defendants.                        Judge: Hon. Richard S. Whitney
18

19

20

21

22

23

24

25

26

27

28



      Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1055 Page 59 of 79



 1   I.        PRELIMINARY STATEMENT

 2             This personal injury case arises out of an alleged slip-and-fall that occurred in a restaurant at
 3   SeaWorld San Diego next to a “CAUTION: WET FLOOR” sign. For reasons unbeknownst to all,
 4   Plaintiff Artemisa Elizondo has sued both Defendant SeaWorld LLC and its then-Vice President of
 5   Park Operations, Defendant Steven Melanese (“Mr. Melanese”), for her injuries and damages. Mr.
 6   Melanese was not involved in the subject incident or any of the events leading up to it. He was not
 7   responsible for the condition of the premises. He had no involvement with either the alleged spill and
 8   substance on the floor of the restaurant, nor the placement of the cautionary signage.
 9             By way of this Motion for Summary Judgment, Mr. Melanese attempts to remove himself from
10   this lawsuit, in which Plaintiff has: (a) filed a Complaint alleging causes of action for negligence and
11   premises liability against Defendant SeaWorld LLC (“Defendant SeaWorld”) and Mr. Melanese in
12   conclusory fashion, lumping Mr. Melanese, SeaWorld, and Doe Defendants together throughout the
13   entirety of the Complaint, without providing any specific allegations as to what one defendant did or
14   failed to do separate and apart from another; and (b) failed to conduct any discovery of either Mr.
15   Melanese or Defendant SeaWorld concerning Mr. Melanese’s involvement in or knowledge of the
16   incident.
17             Summary judgment is entirely appropriate here as there is no triable issue of material fact as to
18   whether Mr. Melanese had any involvement in the subject incident, and Plaintiff cannot and will not
19   be able to present specific facts supporting any independent theory of liability against Mr. Melanese.
20   II.       STATEMENT OF UNDISPUTED MATERIAL FACTS
21             Plaintiff alleges that she slipped and fell in the Explorer’s Reef Café at SeaWorld San Diego on
22   June 26, 2018. Undisputed Material Fact (“UMF”) No. 1; Declaration of Chelsea Yamabe (“Yamabe
23   Decl.”), ¶ 4.
24             On June 26, 2018, Defendant Steven Melanese was employed by Defendant SeaWorld LLC as
25   the Vice President of Park Operations at SeaWorld San Diego. UMF No. 2; Declaration of Steven
26   Melanese (“Melanese Decl.”), ¶ 4. On June 26, 2018, there were four layers of management (assistant
27   supervisors, supervisors, managers, and directors) in between Mr. Melanese and the team of employees
28   responsible for operating, inspecting, maintaining, cleaning, managing, possessing, and controlling the

                                                               1

          Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1056 Page 60 of 79



 1   floor at the Explorer’s Reef Café. UMF No. 3; Melanese Decl., ¶ 5.

 2          Mr. Melanese himself has never owned the Explorer’s Reef Café. UMF No. 4; Melanese Decl.,

 3   ¶ 6. He has never cleaned the Explorer’s Reef Café. UMF No. 5; Melanese Decl., ¶ 7. He has never

 4   repaired the Explorer’s Reef Café. UMF No. 6; Melanese Decl., ¶ 8. Mr. Melanese neither designed

 5   nor built the Explorer’s Reef Café. UMF No. 7; Melanese Decl., ¶ 9.

 6          Mr. Melanese was not involved in the subject incident. UMF No. 8; Melanese Decl., ¶ 10. He

 7   had no involvement with any alleged spill or substance on the floor of the Explorer’s Reef Café on June

 8   26, 2018, the day of the incident. UMF No. 9; Melanese Decl., ¶ 11. Mr. Melanese was not involved

 9   with the placement of any “CAUTION: WET FLOOR” sign on the floor of the Explorer’s Reef Café

10   on June 26, 2018, the day of the incident. UMF No. 10; Melanese Decl., ¶ 12. Mr. Melanese did not

11   witness Plaintiff’s incident. UMF No. 11; Melanese Decl., ¶ 13. Mr. Melanese was not present in the

12   restaurant at time of Plaintiff’s incident. UMF No. 12; Melanese Decl., ¶ 14. On June 26, 2018, the day

13   of Plaintiff’s incident, Mr. Melanese was out of the country on vacation and was not working. UMF

14   No. 13; Melanese Decl., ¶ 15.

15          To date, Plaintiff has conducted no discovery of Mr. Melanese. UMF No. 14; Yamabe Decl., ¶

16   5. Plaintiff has not served Mr. Melanese with any written discovery requests. UMF No. 15; Yamabe

17   Decl., ¶ 6. Plaintiff has not sought to depose Mr. Melanese. UMF No. 16; Yamabe Decl., ¶ 7. Plaintiff

18   has not conducted any discovery of Defendant SeaWorld seeking to ascertain the viability of her causes

19   of action against Mr. Melanese. UMF No. 17; Yamabe Decl., ¶ 8.

20   III.   STANDARD FOR GRANTING SUMMARY JUDGMENT

21          California Code of Civil Procedure 437c authorizes motions for summary judgment and
22   provides that “a party may move for summary judgment in an action or proceeding if it is contended
23   that the action has no merit […].” California Code of Civil Procedure 437c (a)(1). “The motion for
24   summary judgment shall be granted if all the papers submitted show that there is no triable issue as to
25   any material fact and that the moving party is entitled to a judgment as a matter of law.” California
26   Code of Civil Procedure 437c (c).
27          To prevail on a motion for summary judgment, a defendant has the burden of showing that a
28   cause of action has no merit by proving that “one or more elements of the cause of action […] cannot

                                                            2

       Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1057 Page 61 of 79



 1   be established, or that there is a complete defense to the cause of action.” California Code of Civil

 2   Procedure 437c (p)(2). Once the defendant has met that burden, the burden then shifts to the plaintiff

 3   to show that a triable issue of material fact exists as to the cause of action. In doing so, the plaintiff

 4   “shall not rely upon the allegations or denials of its pleadings to show that a triable issue of material

 5   fact exists but, instead, shall set forth the specific facts showing that a triable issue of material fact

 6   exists as to the cause of action or a defense thereto.” California Code of Civil Procedure 437c (p)(2).

 7           Mr. Melanese is entitled to a grant of summary judgment in his favor on both of Plaintiff’s

 8   causes of action for negligence and premises liability. No triable issue of material fact exists as to

 9   whether Mr. Melanese had any involvement in or knowledge of the subject incident whatsoever, and

10   Plaintiff cannot and will not be able to present specific facts supporting any independent theory of

11   liability against Mr. Melanese.

12   IV.     THERE IS NO TRIABLE ISSUE OF MATERIAL FACT AS TO THE LACK OF MR.

13           MELANESE’S INVOLVEMENT IN THE INCIDENT AND PLAINTIFF CANNOT
14           AND WILL NOT BE ABLE TO PRESENT SPECIFIC FACTS SUPPORTING ANY
15           INDEPENDENT THEORY OF LIABILITY AGAINST MR. MELANESE.
16           In order to meet her burden of showing that a triable issue of material fact exists as to Mr.
17   Melanese, Plaintiff may not simply rely on the allegations set forth in her Complaint. Instead, she is
18   required to “set forth the specific facts showing that a triable issue of material fact exists as to the cause
19   of action or a defense thereto.” California Code of Civil Procedure 437c (p)(2). Plaintiff cannot and
20   will never be able to present any specific facts supporting any independent theory of liability against
21   Mr. Melanese.
22           Put plainly and simply, the facts are:
23           x   Mr. Melanese has never owned the restaurant where Plaintiff’s incident occurred. UMF No.
24               4; Melanese Decl., ¶ 6.
25           x   Mr. Melanese has never cleaned the restaurant where Plaintiff’s incident occurred. UMF
26               No. 5; Melanese Decl., ¶ 7.
27           x   Mr. Melanese has never repaired the restaurant where Plaintiff’s incident occurred. UMF
28               No. 6; Melanese Decl., ¶ 8.

                                                            3

       Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1058 Page 62 of 79



 1          x   Mr. Melanese neither designed nor built the restaurant where Plaintiff’s incident occurred.
 2              UMF No. 7; Melanese Decl., ¶ 9.

 3          x   Mr. Melanese was not involved in the subject incident. UMF No. 8; Melanese Decl., ¶ 10.
 4          x   He had no involvement with any alleged spill or substance on the floor of the Explorer’s
 5              Reef Café on June 26, 2018, the day of the incident. UMF No. 9; Melanese Decl., ¶ 11.

 6          x   Mr. Melanese was not involved with the placement of any “CAUTION: WET FLOOR” sign
 7              on the floor of the Explorer’s Reef Café on June 26, 2018, the day of the incident. UMF No.

 8              10; Melanese Decl., ¶ 12.

 9          x   Mr. Melanese did not witness Plaintiff’s incident. UMF No. 11; Melanese Decl., ¶ 13.
10          x   Mr. Melanese was not present in the restaurant at time of Plaintiff’s incident. UMF No. 12;
11              Melanese Decl., ¶ 14.

12          x   On June 26, 2018, the day of Plaintiff’s incident, Mr. Melanese was out of the country on
13              vacation and was not working. UMF No. 13; Melanese Decl., ¶ 15.

14          To date, Plaintiff has conducted no discovery of Mr. Melanese. UMF No. 14; Yamabe Decl., ¶

15   5. Plaintiff has not served Mr. Melanese with any written discovery requests. UMF No. 15; Yamabe

16   Decl., ¶ 6. Plaintiff has not sought to depose Mr. Melanese. UMF No. 16; Yamabe Decl., ¶ 7. Plaintiff

17   has not conducted any discovery of Defendant SeaWorld seeking to ascertain the viability of her causes

18   of action against Mr. Melanese. UMF No. 17; Yamabe Decl., ¶ 8. Even if Plaintiff were to do the

19   foregoing, at best Plaintiff would discover that:

20          x   At the time of the incident, Mr. Melanese was the Vice President of Park Operations at
21              SeaWorld San Diego. UMF No. 2; Melanese Decl., ¶ 4.

22          x   There were four layers of management (assistant supervisors, supervisors, managers, and
23              directors) in between Mr. Melanese and the team of employees responsible for operating,

24              inspecting, maintaining, cleaning, managing, possessing, and controlling the floor at the

25              Explorer’s Reef Café. UMF No. 3; Melanese Decl., ¶ 5.

26   The facts do not and will not show that Mr. Melanese had any involvement, whether direct or indirect,

27   in Plaintiff’s incident or any of the acts or omissions allegedly giving rise to the incident. There is no

28   ///

                                                            4

       Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1059 Page 63 of 79



 1   triable issue of fact as to whether Mr. Melanese had any involvement in or knowledge of Plaintiff’s

 2   incident, and summary judgment must be granted to Mr. Melanese on that basis.

 3   V.     CONCLUSION AND ORDER REQUESTED

 4          By way of this Motion for Summary Judgment, Mr. Melanese simply seeks to be released from
 5   a litigation matter in which he should never have been named because, stated plainly, there is simply
 6   no evidence that he was involved in the alleged slip-and-fall or precipitating events. No triable issue of
 7   material fact as to his involvement exists, and Plaintiff cannot and will not be able present any specific
 8   facts showing the contrary. Even assuming arguendo that Mr. Melanese himself had taken a bucket of
 9   water and thrown it across the restaurant floor in the minutes before Plaintiff walked across it, as an
10   employee of Defendant SeaWorld he would be entitled to a defense and indemnification by his
11   employer, who would step into Mr. Melanese’s shoes under respondeat superior, a vicarious liability
12   doctrine.
13                                                   Respectfully submitted,
14   Dated: February 14, 2020                        INTERNATIONAL PRACTICE GROUP,
                                                     A PROFESSIONAL CORPORATION
15

16
                                                     By: _______________________________
17                                                          GUILLERMO MARRERO, ESQ.
                                                            CHELSEA YAMABE, ESQ.
18                                                          Attorneys for Defendants
19

20

21

22

23

24

25

26

27

28

                                                            5

       Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1060 Page 64 of 79



 1   GUILLERMO MARRERO, ESQ., State Bar No. 099056
     CHELSEA YAMABE, ESQ., State Bar No. 272852
 2   INTERNATIONAL PRACTICE GROUP, P.C.
     1350 Columbia Street, Suite 500
 3
     San Diego, California 92101
 4   Telephone: (619) 515-1486
     Facsimile: (619) 515-1481
 5   gmarrero@ipglaw.com
     cyamabe@ipglaw.com
 6

 7   Attorneys for Defendants
     SEAWORLD LLC and STEVEN MELANESE
 8

 9
                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                                      FOR THE COUNTY OF SAN DIEGO
11
                                   CENTRAL DIVISION – HALL OF JUSTICE
12
      ARTEMISA ELIZONDO, an individual,                   Case No.: 37-2018-00057261-CU-PO-CTL
13
                      Plaintiff,                          STATEMENT OF UNDISPUTED MATERIAL
14                                                        FACTS IN SUPPORT OF DEFENDANT
              v.                                          STEVEN MELANESE’s MOTION FOR
15                                                        SUMMARY JUDGMENT
      SEAWORLD PARKS &
16    ENTERTAINMENT, INC.; STEVEN                         Date: May 1, 2020
      MELANESE, an individual; and DOES 1                 Time: 10:00 a.m.
17    through 100, inclusive,
                                                          Dept.: C-68
                      Defendants.                         Judge: Hon. Richard S. Whitney
18

19

20

21

22

23

24

25

26

27

28



      Statement of Undisputed Material Facts in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1061 Page 65 of 79



 1            Defendant Steven Melanese (“Mr. Melanese”) respectfully submits the following Statement of

 2   Undisputed Material Facts in support of his Motion for Summary Judgment.

 3      No.        Moving Party’s Undisputed Material                    Opposing Party’s Response and
 4                       Fact and Supporting Evidence                          Supporting Evidence
 5       1        Plaintiff alleges that she slipped and fell in
 6                the Explorer’s Reef Café at SeaWorld San
 7                Diego on June 26, 2018. Declaration of
 8                Chelsea Yamabe (“Yamabe Decl.”), ¶ 4.
 9       2        On June 26, 2018, Defendant Steven
10                Melanese was employed by Defendant
11                SeaWorld LLC as the Vice President of
12                Park Operations at SeaWorld San Diego.
13                Declaration      of     Steven      Melanese
14                (“Melanese Decl.”), ¶ 4.
15       3        On June 26, 2018, there were four layers
16                of management (assistant supervisors,
17                supervisors, managers, and directors) in
18                between Mr. Melanese and the team of
19                employees responsible for operating,
20                inspecting,      maintaining,       cleaning,
21                managing, possessing, and controlling the
22                floor at the Explorer’s Reef Café.
23                Melanese Decl., ¶ 5.
24       4        Mr. Melanese himself has never owned
25                the Explorer’s Reef Café. Melanese Decl.,
26                ¶ 6.
27       5        Mr. Melanese has never cleaned the
28

                                                             1

       Statement of Undisputed Material Facts in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1062 Page 66 of 79



 1              Explorer’s Reef Café. Melanese Decl., ¶
 2              7.
 3     6        Mr. Melanese has never repaired the
 4              Explorer’s Reef Café. Melanese Decl., ¶
 5              8.
 6     7        Mr. Melanese neither designed nor built
 7              the Explorer’s Reef Café. Melanese Decl.,
 8              ¶ 9.
 9     8        Mr. Melanese was not involved in
10              Plaintiff’s incident. Melanese Decl., ¶ 10.
11     9        Mr. Melanese was not involved with any
12              alleged spill or substance on the floor of
13              the Explorer’s Reef Café on June 26,
14              2018, the day of the incident. Melanese
15              Decl., ¶ 11.
16     10       Mr. Melanese was not involved with the
17              placement of any “CAUTION: WET
18              FLOOR” sign on the floor of the
19              Explorer’s Reef Café on June 26, 2018,
20              the day of the incident. Melanese Decl., ¶
21              12.
22     11       Mr. Melanese did not witness Plaintiff’s
23              incident. Melanese Decl., ¶ 13.
24     12       Mr. Melanese was not present in the
25              restaurant at time of Plaintiff’s incident.
26              Melanese Decl., ¶ 14.
27     13       On June 26, 2018, the day of Plaintiff’s
28

                                                           2

     Statement of Undisputed Material Facts in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1063 Page 67 of 79



 1               incident, Mr. Melanese was out of the
 2               country on vacation and was not working.
 3               Melanese Decl., ¶ 15.
 4      14       To date, Plaintiff has conducted no
 5               discovery of Mr. Melanese. Yamabe
 6               Decl., ¶ 5.
 7      15       Plaintiff has not served Mr. Melanese with
 8               any written discovery requests. Yamabe
 9               Decl., ¶ 6.
10      16       Plaintiff has not sought to depose Mr.
11               Melanese. Yamabe Decl., ¶ 7.
12      17       Plaintiff has not conducted any discovery
13               of Defendant SeaWorld seeking to
14               ascertain the viability of her causes of
15               action against Mr. Melanese. Yamabe
16               Decl., ¶ 8.
17
                                                     Respectfully submitted,
18

19   Dated: February 14, 2020                        INTERNATIONAL PRACTICE GROUP,
                                                     A PROFESSIONAL CORPORATION
20

21                                                   By: _______________________________
                                                            GUILLERMO MARRERO, ESQ.
22
                                                            CHELSEA YAMABE, ESQ.
23                                                          Attorneys for Defendants

24

25

26

27

28

                                                            3

      Statement of Undisputed Material Facts in Support of Defendant Steven Melanese’s Motion for Summary Judgment
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1064 Page 68 of 79



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
               Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1065 Page 69 of 79



                    1 GUILLERMO MARRERO, ESQ., State Bar No. 099056
                      CHELSEA YAMABE, ESQ., State Bar No. 272852
                    2 INTERNATIONAL PRACTICE GROUP, P.C.
                      1350 Columbia Street, Suite 500
                    3 San Diego, California 92101
                      Telephone: (619) 515-1486
                    4 Facsimile: (619) 515-1481
                      Attorneys for Defendants
                    5 SEAWORLD LLC and
                      STEVEN MELANESE
                    6

                    7

                    8
                                        SUPERIOR COURT OF THE STATE OF CALIFORNIA
                    9
                                               FOR THE COUNTY OF SAN DIEGO
                  10
                                             CENTRAL DIVISION – HALL OF JUSTICE
                  11

                  12 ARTEMISA ELIZONDO, an individual,      ) Case No.: 37-2018-00057261-CU-PO-CTL
                                                            )
                  13            Plaintiff,                  )
                                                            ) PROOF OF SERVICE
                  14               v.                       )
                                                            )
                  15 SEAWORLD PARKS &                       )
                     ENTERTAINMENT, INC.; STEVEN            )
                  16 MELANESE, an individual; and DOES 1    )
                     through 100, inclusive,                )
                  17                                        )
                                Defendants.                 )
                  18                                        )

                  19

                  20

                  21

                  22

                  23

                  24

                  25

                  26

                  27

                  28

   I NTERNATIONAL                                          Proof of Service
P RACTICE G ROUP , P.C.
                Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1066 Page 70 of 79



                     1 Chelsea Yamabe certifies and declares as follows:

                     2            I am over eighteen (18) years of age and am not a party to this action.

                     3            My business address is 1350 Columbia Street, Suite 500, San Diego, California, 92101,

                     4 which is located in the city, county, and state where the mailing described below took place.

                     5            SERVICE BY PERSONAL DELIVERY: I am readily familiar with International

                     6 Practice Group, P.C.’s practices for collection and processing of documents for personal service by

                     7 Nationwide Attorney Service. On February 14, 2020, I caused the document(s) described in

                     8 Appendix A hereto, to be electronically transmitted to Nationwide Attorney Service for personal

                     9 service upon the following individual(s) at the following location(s), that same day in the ordinary

                    10 course of business.

                    11
                                                   Raymond Ghermezian, Esq.
                    12             RAYMOND GHERMEZIAN, A PROFESSIONAL LAW CORPORATION
                    13                         3435 Wilshire Boulevard, Suite 1800
                                                  Los Angeles, California 90010
                    14

                    15            I declare under penalty of perjury, under the laws of the State of California that the

                    16 foregoing is true and correct.

                    17
                           Dated: February 14, 2020                     By: ______________________________
                    18                                                             Chelsea Yamabe
                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
                                                                           -1-
   INTERNATIONAL
                                                                      Proof of Service
PRACTICE GROUP , P . C .
                Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1067 Page 71 of 79



                     1                                       APPENDIX A

                     2                                 List of Documents Served

                     3     1. Defendant Steven Melanese’s Notice of Motion and Motion for Summary Judgment

                     4     2. Declaration of Steven Melanese in Support of Defendant Steven Melanese’s Motion for

                     5        Summary Judgment

                     6     3. Declaration of Chelsea Yamabe in Support of Defendant Steven Melanese’s Motion for

                     7        Summary Judgment

                     8     4. Statement of Undisputed Material Facts in Support of Defendant Steven Melanese’s

                     9        Motion for Summary Judgment

                    10     5. Memorandum of Points and Authorities in Support of Defendant Steven Melanese’s

                    11        Motion for Summary Judgment

                    12

                    13

                    14

                    15

                    16

                    17

                    18

                    19

                    20

                    21

                    22

                    23

                    24

                    25

                    26

                    27

                    28
                                                                   -2-
   INTERNATIONAL
                                                              Proof of Service
PRACTICE GROUP , P . C .
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1068 Page 72 of 79




          EXHIBIT 6
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1069 Page 73 of 79


 From:            Sayeh Khoei
 To:              Guillermo Marrero; maria ghermezianlaw.com; raymond ghermezianlaw.com; rghermezianlaw@hotmail.com
 Cc:              Alberto Aldrete; Carolina Juarez; ADMIN @ IPG (SHARED MAILBOX)
 Subject:         RE: ELIZONDO V. SEAWORLD ET AL - STIPULATION TO CONTINUE MSJ
 Date:            Thursday, April 2, 2020 1:48:10 PM


 Dear Counsel:

 We are willing to dismiss your client, Steven Melanese, for waiver of costs.

 Otherwise, please provide depo date for Defendant Steven Melanese since we need to take his
 deposition asap in order to oppose Defendants’ motion for summary judgment.

 Sayeh Khoei


 From: Guillermo Marrero <GMarrero@ipglaw.com>
 Sent: Wednesday, April 1, 2020 2:28 PM
 To: maria ghermezianlaw.com <maria@ghermezianlaw.com>; Sayeh Khoei
 <sayeh@ghermezianlaw.com>; raymond ghermezianlaw.com <raymond@ghermezianlaw.com>;
 rghermezianlaw@hotmail.com
 Cc: Alberto Aldrete <Alberto@ipglaw.com>; Carolina Juarez <CJuarez@ipglaw.com>; ADMIN @ IPG
 (SHARED MAILBOX) <admin2ipg@ipglaw.com>
 Subject: RE: ELIZONDO V. SEAWORLD ET AL - STIPULATION TO CONTINUE MSJ

 Need to have an agreement on the discovery items we listed out this morning concurrent with this
 stipulation. Send same and I will insert dates for SW personnel.



                        Guillermo Marrero
                        International Practice Group
                        1350 Columbia St., Suite 500
                        San Diego, CA. 92101
                        Direct: (619) 515-1482
                        FAX: (619) 515-1481
                        Email: gmarrero@ipglaw.com
                        Website:www.ipglaw.com




 From: maria ghermezianlaw.com <maria@ghermezianlaw.com>
 Sent: Wednesday, April 1, 2020 1:54 PM
 To: Sayeh Khoei <sayeh@ghermezianlaw.com>; Guillermo Marrero <GMarrero@ipglaw.com>;
 raymond ghermezianlaw.com <raymond@ghermezianlaw.com>; rghermezianlaw@hotmail.com
 Cc: Alberto Aldrete <Alberto@ipglaw.com>; Carolina Juarez <CJuarez@ipglaw.com>; ADMIN @ IPG
 (SHARED MAILBOX) <admin2ipg@ipglaw.com>
 Subject: RE: ELIZONDO V. SEAWORLD ET AL - STIPULATION TO CONTINUE MSJ
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1070 Page 74 of 79



 Good Afternoon,

 Please see the attached Stipulation to Continue Defendant’s MSJ on the above matter.

 Please sign and return Stipulation back to our office at your earliest convenience.

 Thank you,


 Maria Wampler
 Legal Secretary
 RAYMOND GHERMEZIAN, APLC
 3435 Wilshire Boulevard, Suite 1800
 Los Angeles, CA 90010
 Telephone: (323) 900-5800
 Facsimile: (323) 900-5801

 Email: maria@ghermezianlaw.com

 Note : This e-mail contains information from RAYMOND GHERMEZIAN, A
 PROFESSIONAL LAW CORPORATION. that may be proprietary, confidential,
 or protected under the attorney- client privilege or work-product doctrine. This e-
 mail is intended for the use only of the named recipient. If you are not the
 intended recipient named above, you are strictly prohibited from reading,
 disclosing, copying, or distributing this e-mail or its contents, and from taking
 any action in reliance on the contents of this e-mail. If you received this e-mail in
 error, please delete this message and respond immediately by e-mail to the
 author or call 323-900-5800.




 From: Sayeh Khoei <sayeh@ghermezianlaw.com>
 Sent: Wednesday, April 1, 2020 12:48 PM
 To: Guillermo Marrero <GMarrero@ipglaw.com>; raymond ghermezianlaw.com
 <raymond@ghermezianlaw.com>; rghermezianlaw@hotmail.com
 Cc: maria ghermezianlaw.com <maria@ghermezianlaw.com>; Alberto Aldrete
 <Alberto@ipglaw.com>; Carolina Juarez <CJuarez@ipglaw.com>; ADMIN @ IPG (SHARED MAILBOX)
 <admin2ipg@ipglaw.com>
 Subject: RE: ELIZONDO V. SEAWORLD ET AL - STIPULATION TO CONTINUE MSJ

 Thank you counsel.

 Maria will email you the stipulation.
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1071 Page 75 of 79




          EXHIBIT 7
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1072 Page 76 of 79
Case 3:20-cv-00829-BGS Document 1-2 Filed 05/01/20 PageID.1073 Page 77 of 79
    Case 3:20-cv-00829-BGS Document 1-2   Filed 05/01/20 PageID.1074 Page 78 of 79
                                             2UGHU6WDWXV'HWDLOV_2QH/HJDO




                                     (EWLFSEVH                                                                         




   3VHIVI*MPMRK
   7YFQMXXIH4148  `  %XXSVRI]6E]QSRH+LIVQI^MER  `  'SRXEGX1IKER7OMVZMR




                   (SGWVIGIMZIHF]3RI0IKEP
                   (SGW VIGIMZIH F] 3RI 0IKEP
                   4148




       (SGYQIRXW

           6IXYVRIH 


       (SGYQIRXW[MPPFIEZEMPEFPILIVISRGIXLI]EVITVSZMHIHF]XLIGSYVX WW]WXIQ

           =SYV*MPIW 


        (SGYQIRX8MXPI                                  (SGYQIRX8]TI
                                                                 8                                   4EKIW   7XEXYW

        6IUYIWXJSV(MWQMWWEP[MXL4VINYHMGI          6IUYIWXJSV(MWQMWWEP[MXL4VINYHMGI
                                                                                                            9TPSEHIH
        4EVX]                                           4EVX]




        'EWI-RJSVQEXMSR
        'SYVX
        7ER(MIKS'SYRX]7YTIVMSV'SYVXSJ'EPMJSVRME 'IRXVEP

        2YQFIV
        '943'80

        8MXPI
        )PM^SRHSZW7IE[SVPH4EVOW )RXIVXEMRQIRX-RG?-1%+)(A

        'PMIRX&MPPMRK'SHI
        )PM^SRHS




        'SR¦VQEXMSR6IGIMTX




KWWSVSODWIRUPRQHOHJDOFRP2UGHU6WDWXV'HWDLOV                                                              
   Case 3:20-cv-00829-BGS Document 1-2   Filed 05/01/20 PageID.1075 Page 79 of 79
                                            2UGHU6WDWXV'HWDLOV_2QH/HJDO




                                                                k3RI0IKEP00'
                                                             :IVWMSR

                            %GGIWWMFMPMX]WXEXIQIRX LXXTW[[[SRIPIKEPGSQEGGIWWMFMPMX]      ` 4VMZEG]TSPMG]

                     LXXTW[[[SRIPIKEPGSQTVMZEG]          ` 8IVQWSJWIVZMGI LXXTW[[[SRIPIKEPGSQXIVQW




KWWSVSODWIRUPRQHOHJDOFRP2UGHU6WDWXV'HWDLOV                                                              
